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                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MARYLAND



         HENDRICK JAMES HAMERTER                          .
                Petitioner                                 .    Civil Action No. DKC-O7-111
                                                                Criminal Action No. DKC-Ol-518
                v.                                        .     (ECF Exempt)
        UNITED STATES OF AMERICA                          .                     -
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                                                                                        .fIlED


                Respondent                                .


                                                     MEMORANDUM                                            ~

                Pendingis a pro se28 V.S.C. § 2255motion filed by Hendrick JamesHamerter,an inmate

        incarceratedat the FederalCorrectionalCenterin Coleman,Florida. PaperNo. 262, Criminal No.

        DKC-Ol-518.

                On January 13, 2003, the court enteredjudgment, sentencingHamerterto 127 months

        imprisonment after he pleaded guilty to conspiracy to distribute and possesswith intent to distribute

        marijuanaand cocainein violation of 18U .S.C.§846. Hamerternoteda timely appealwhich was

        deniedon March4,2004. TheFourthCircuit Court of Appeals'mandateissuedon March29,2004.

         On February21,2006, Hamertermovedthe Fourth Circuit Court of Appealsto recall its mandate

        so that he could file a petition for writ of certiorari. The motion to recall the mandatewas denied.

        SeeHamerterv. UnitedStates,CA #03-4086(4thCir. 2004). On March 13,2006,Hamerterrfiled

        an untimelypetition for writ of certiorariin the United StatesSupremeCourt, which wasdeniedon

        April 17,2006. Id. On January8, 2007,Hamerterfiled the instantmotion to correcthis sentence.
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                1 The motion,datedJanuary8, 2007,wasreceivedby the Clerk on January12,2007. For
        the purposesof assessing
                               timelinessunder28 V.S.C.§ 2255,the court will deemthe motion
        deliveredto prisonauthoritieson the signaturedate. SeeHoustonv. Lack, 487 U.S. 266 (1988);
        UnitedStatesv. Dorsey,988 F. Supp.917, 919-920(D. Md. 1998)(petition deemedto havebeen



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        A motion to vacate, set aside, or correct a federal sentencemust be filed within one year from

"the date on which the judgment of conviction becomesfinal." 28 V.S.C. § 2255.2 For federal

criminal defendantswho do not file a timely petition for certiorari on direct review, the one-year

limitation period startsto run when the time for seekingsuchreview expires. See Clay v. United

States,537 U.S. 522, 524 (2003). The time during which Hamerter could have petitioned for

certiorariexpired90 daysafter entryof the Courtof Appeals'judgment.See SUPCT. R. 13(1);see

also Clay v. UnitedStates,537 U.S. 522, 525 (2003); UnitedStatesv. Sanders,247 F. 3d 139(4th

Cir. 200I) (holding a conviction becomesfinal on date judgment is enteredwherepetitionerdoes

not pursuedirect appeal). Petitioner'sfailed effort to recall the mandate(an effort undertakenonly

after the one-yearlimitation period setout underAEDPA for filing a motion to vacatehadalready

expired)doesnot serveto toll the limitations period.

        Underthe factspresentedhere, the one-yearperiod of limitations startedto run on March

29,2004, and expiredoneyearlater. Consequently,the instant § 2255 motion, filed on January8,

2007,is untimely by almostthreeyears.


filed on dateit was depositedwith prison authoritiesfor mailing under"prison mailbox" rule).
       2    Section28 U.S.C.§2255providesin pertinentpart:
A I-year period of limitation shall apply to a motion underthis section. The limitation period
shall run from the latestof--

              (I) the dateon which thejudgment of conviction becomesfinal;
              (2) the dateon which the impedimentto making a motion created
              by governmentalaction in violation of the Constitutionor laws of
              the United Statesis removed,if the movantwas preventedfrom
              making a motion by suchgovernmentalaction;
               (3) the dateon which the right assertedwas initially recognizedby
              the SupremeCourt, if that right hasbeennewly recognizedby the
              SupremeCourt andmaderetroactivelyapplicableto caseson
              collateralreview; or
              (4) the dateon which the facts supportingthe claim or claims
              presentedcould havebeendiscoveredthroughthe exerciseof due
              diligence.

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        Consonant with United States v. Sosa, 364 F .3d 50, 512 (4th Cir .2004) and Hill v. Braxton,

277 F.3d 701, 707 (4thCir. 2002),the court grantedHamerterthirty daysto demonstratewhy the

petition is timely or why equitabletolling is warranted.PaperNo. 264, Criminal No. DKC-04-518.

Hamerterhas respondedto the court's order.PaperNo. 267, Criminal No. DKC-04-518. Rather

than arguegroundsfor equitabletolling, , he statesthat the court haserredin finding his motion to

vacateuntimely. Hamerterstatesthat the statuteof limitations shouldbegin to run anewafter the

denial of his untimely-filed petition for writ of certiorari For the reasonsstatedabove,this court

disagrees. Hamerter's untimely-filed petition for writ of certiorari did not serveto toll the limitations

period found in AEDPA. Hamerterhas offered no argumentsin favor of equitably tolling, and,

accordingly,the motion shall be denied.A separateOrder follows



        Ma~ 21. 2007                                        ~~~~~~~
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Date                                                    DEBORAH K. CHASANOW
                                                        United StatesDistrict Judge




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